                        Case 1:21-cr-00175-TJK Document 857-11 Filed 08/17/23 Page 1 of 1
                                                      From: 573782641 Rufio Panman (owner)

                                                      Hey, so my parents are now threatening to fire cory and evict us from our house if I don’t
                                                      quit due to more press attention and negative reactions from the public with my involvement
                                                      with the PB’s. At this point, we all know me quitting wouldn’t change anything, if anything it
                                                      would bring more attention.

                                                      Therefore, I feel the only thing to do is separate from cory cutting ties with everyone in my
                                                      family and moving away. So they can say whatever they want and I no longer will affect
                                                      them negatively. I’m planning to move to Florida once I can secure a job there. This comes
                                                      with a heavy heart, but this environment has become too toxic for me to be my best. We will
                                                      talk more tomorrow. But you all should know my mind is pretty much made up on this.
                                                                                                                                               1/29/2021 12:30:01 PM(UTC-8)


                                                    Source Info:
                                                    e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-84D1-
                                                    511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x331090EB (Size: 873086976 bytes)



  From: 1466672054 Pre workout and gravy
  Attachments:

   Size: 95148
   File name: animation.gif.mp4
   animation.gif.mp4
   (Empty File)

                                               1/29/2021 12:30:02 PM(UTC-8)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x330FE365 (Size: 873086976 bytes)
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/media/telegram-cloud-document-1-4945111201563541727 :
(Size: 95148 bytes)



                                                                                                  From: 573782641 Rufio Panman (owner)

                                                                                                  Just sent this to my officers
                                                                                                                                               1/29/2021 12:30:17 PM(UTC-8)


                                                                                                Source Info:
                                                                                                e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
                                                                                                hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
                                                                                                8138281883108468013/postbox/db/db_sqlite : 0x330FE2A7 (Size: 873086976 bytes)



                                                                                                  From: 573782641 Rufio Panman (owner)

                                                                                                  Anything that pays decent
                                                                                                                                               1/29/2021 12:30:38 PM(UTC-8)


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                                                                                                e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
                                                                                                hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
                                                                                                8138281883108468013/postbox/db/db_sqlite : 0x330FE1ED (Size: 873086976 bytes)



  From: 1466672054 Pre workout and gravy

  Love you brotherman
                                               1/29/2021 12:30:51 PM(UTC-8)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x330FE11B (Size: 873086976 bytes)



                                                                                                  From: 573782641 Rufio Panman (owner)

                                                                                                  Love you too Broski
                                                                                                                                               1/29/2021 12:31:06 PM(UTC-8)


                                                                                                Source Info:
                                                                                                e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
                                                                                                hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
                                                                                                8138281883108468013/postbox/db/db_sqlite : 0x330FE067 (Size: 873086976 bytes)



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